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/s/ Mercedes S. Menendez
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                                    ________________________________
                                    RICHARD F. BOULWARE, II
                                    UNITED STATES DISTRICT JUDGE
                                    DATED this 19th day of October, 2020.
